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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION


UNITED STATES OF AMERICA                         :       CRIMINAL NO. 2:24-cr-00083


VERSUS                                           :       JUDGE JAMES D. CAIN, JR.


ALBERT ROYSTER, JR                               :       MAGISTRATE JUDGE LEBLANC


                REPORT AND RECOMMENDATION ON FELONY
           GUILTY PLEA BEFORE UNITED STATES MAGISTRATE JUDGE


       Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

consent of the defendant, this matter has been referred by the District Court for administration of

Guilty Plea and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

       This cause came before the undersigned U. S. Magistrate Judge on July 19, 2024, at which

time the defendant expressed a desire to waive his right to plead guilty before a District Judge and

enter into a plea before the U. S. Magistrate Judge. Defendant indicated on the record his desire

to consent to proceed before the undersigned and executed a waiver. Defendant was at all times

represented by counsel, John Mario Piccione.

       After said hearing and for reasons orally assigned, it is the finding of the undersigned that

the defendant is fully competent, that his plea of guilty is knowing and voluntary, that his guilty

plea to Counts One and Two of the Indictment is fully supported by the written factual basis

acknowledged by defendant orally in court and by his signature on the written document. This

factual basis supports each essential element of each of the offenses to which the defendant pled.




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       Therefore the undersigned U.S. Magistrate Judge recommends that the District Court

ACCEPT the guilty plea of the defendant, ALBERT ROYSTER, JR, and that he be finally

adjudged guilty of the offenses charged in Counts One and Two of the Indictment.

       Sentencing is set for November 7, 2024, at 10:00 a.m., before the Honorable James David

Cain, Jr. in Lake Charles, Louisiana. Defendant’s presentencing memorandum is due 14 days

before the sentencing hearing, and any response by the government is due 7 days thereafter.

Defendant is to remain in the custody of the U.S. Marshal pending sentencing.

       THUS DONE AND SIGNED in Chambers this 19th day of July, 2024.




                         ___________________________________
                                THOMAS P. LEBLANC
                        UNITED STATES MAGISTRATE JUDGE




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